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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

KLOPOTEK NORTH AMERICA, INC.,   )
                                )
          Plaintiff,            )
                                )                     Case No.
THE   TRUSTEES       OF  INDIANA)
UNIVERSITY, on behalf of INDIANA)
UNIVERSITY PRESS,               )

               Defendant.

                     COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff, Klopotek North America, Inc., by and through its attorneys Lewis Brisbois

Bisgaard & Smith LLP, for its Complaint for Declaratory Relief against Defendant, The Trustees

of Indiana University on behalf of Indiana University Press, states as follows:

                           PARTIES, JURISDICTION, AND VENUE

       1.      At all relevant times, Klopotek North America, Inc. (“Klopotek”) was a software

company incorporated under New York law, with its principal place of business in Parsippany,

New Jersey.

       2.      The Trustees of Indiana University, acting on behalf of Indiana University Press

(“IUP), is an Indiana political subdivision and, thus, is a citizen of Indiana. Indiana Code § 21-20-

2-2.

       3.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332 by virtue

of the parties’ diversity of citizenship and the fact that the amount in controversy exceeds the sum

of $75,000, exclusive of interest and costs.

       4.      Venue is proper in this judicial district pursuant to 28 U.S.C. §1391 because a

substantial part of the events giving rise to this suit occurred in this district, namely that Klopotek




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negotiated the contract with IUP from its headquarters in Parsippany, New Jersey, and performed

some of the services under the contract from its headquarters.

       5.      This lawsuit seeks a declaratory judgment as well as a monetary judgment relating

to a Software as a Service (“SaaS”) agreement entered into between the parties. Declaratory

judgment is sought pursuant to 28 U.S.C. § 2201.

                                 FACTUAL ALLEGATIONS

       6.      IUP is an academic press established in 1950 that publishes books, 40 journals, and

3,500 titles. IUP specializes in humanities and social science and publishes approximately 140

new books annually in addition to 12 academic journals. IUP has claimed various awards for its

publications around the world.

       7.      IUP used a program called AllBooks as its title management system and CATS as

its business system.

       8.      Upon information and belief, AllBooks was being phased out to be discontinued.

       9.      In 2015, IUP issued a request for proposal (RFP) to update its title management

system and publishing intelligence system.

       10.     On February 2, 2016, Klopotek submitted a proposal to IUP from its New Jersey

office in response to the RFP to update the title management system using its Klopotek System,

which is publishing software used globally by thousands of publishers. IUP accepted the proposal.

       11.     On July 12, 2016, Klopotek and IUP entered into a contract under which Klopotek

agreed to license its publishing software to IUP through SaaS (the “SaaS Agreement”) and build

the Klopotek System to meet IUP’s needs. In return, IUP agreed to compensate Klopotek pursuant

to Section 5 and Appendix 9 of the SaaS Agreement. (Exhibits 1 and 2).




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       12.     In November of 2016, the parties amended the SaaS Agreement for Klopotek to

implement and procure its Order to Cash Module. (See Exhibit 3).

       13.     Klopotek’s SaaS system went live with 15 agreed to limitations on July 24, 2017.

       14.     Klopotek and IUP held weekly meetings throughout the project. All task and issues

were tracked and communicated in an open item summary report during those meetings.

Additionally, to help facilitate and resolve issues that arose with the installation and

implementations of the software, Klopotek introduced a web-based issue tracking tool,

“Elementool” in November 2017. Elementool allowed both Klopotek and IUP to track and monitor

all tasks. IUP could submit “tickets” for any issues it had with the software.

       15.     A service Delivery Manager was also assigned to IUP to help in the tracking and

closing out of issues. It was agreed that all issues IUP’s users found with the system had to be

reported on Elementool or Klopotek could not respond to or be aware of the alleged issues.

       16.     During the project, certain issues did arise but IUP routinely failed to submit tickets

in Elementool and failed to understand the true power of the Klopotek system.

       17.     Upon information and belief, IUP’s former system, AllBooks, issued a new,

updated software system during the course of IUP’s relationship with Klopotek.

       18.     Upon information and belief, IUP preferred AllBooks because it was familiar with

the system after having used it for years and sought to break its contract with Klopotek to revert

back to using its old system.

       19.     In a demand letter date October 3, 2019 (Exhibit 4), IUP terminated the SaaS

Agreement, claiming that Klopotek breached the SaaS Agreement and made misrepresentations to

IUP regarding the capabilities and functionality of the Klopotek System. IUP further claimed that




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the System was not fully functional. IUP demanded a full reimbursement in the amount of

$759,989.89, the sum of all payments made to Klopotek under the SaaS Agreement.

       20.       The parties’ counsel exchanged further correspondence and spoke by telephone

several times following receipt of the demand letter.

       21.       The SaaS Agreement contains a damages limitation clause, which provides, in

relevant part:

       §11       Liability

           11.1 The Parties agree that:

           11.1.1       BOTH PARTIES SHALL BE LIABLE FOR WILLFULNESS
                        AND GROSS NEGLIGENCE IN ACCORDANCE WITH
                        STATUTORY PROVISIONS.

           11.1.2       THE LIABILITY AND OBLIGATION OF KLOPOTEK, IN
                        THE AGGREGATE FOR ANY ALL CLAIMS ARISING OUT
                        OF OR IN CONNECTION WITH THIS AGREEMENT, WITH
                        RESPECT TO ANY COST, EXPENSE, DAMAGE, LOSS,
                        INJURY, OR LIABILITY OF ANY KIND OR NATURE
                        WHATSOEVER, REGARDLESS OF THE FORM OF
                        ACTION OR THEORY OF LIABILITY (INCLUDING FOR
                        BREACH OF CONTRACT, EQUITY, TORT, NEGLIGENCE,
                        BY STATUTE OR OTHERWISE) SHALL BE LIMITED TO
                        DIRECT DAMAGES AND SHALL NOT EXCEED FIFTY
                        THOUSAND DOLLARS ($50,000).

             (Exhibit 1.)


       22.       IUP disputes Klopotek’s contention that the damages limitation clause applies to

limit any damages to IUP to $50,000.

       23.       The parties attempted to resolve the conflict between them in a full day mediation

on September 23, 2020, in Indianapolis, Indiana, which was unsuccessful.

       24.       The matters set forth in Paragraphs 19 through 23 are hereafter referred to as “the

Parties’ Dispute.”

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       25.     In light of the Parties’ Dispute, an actual and substantial controversy exists between

parties having adverse legal interests, of sufficient immediacy and reality that warrants the

issuance of a declaratory judgment as to whether IUP, if successful on its alleged claims, could

recover more than the damages limitation in Section 11.1.1 and 11.1.2 of the SaaS Agreement.

       26.     The amount in controversy is over the jurisdiction threshold because IUP seeks

damages well in excess of $75,000 in its demand letter.

       27.     Further, the SaaS Agreement states, in relevant part:

               11.7   The Agreement shall be governed by the laws of the State of
                      Indiana, and Klopotek shall at all times comply with and observe
                      all federal, state and local laws, ordinances, and regulations
                      which are in effect during the period of the Agreement and which
                      in any manner affect the work or its conduct. Any party bringing
                      a legal action or proceeding against any other party arising out of
                      or relating to this Agreement may bring the legal action or
                      proceeding in the United States District Court for the Southern
                      District of Indiana or in the Monroe Circuit Court in Monroe
                      County, Indiana.

               (Exhibit 1.)

       28.     To the extent IUP enjoyed any sovereign immunity, IUP waived it by assenting to

Section 11.7, which contemplates legal action in Indiana or elsewhere (through the word “may”),

and entering into the SaaS Agreement.

                                           COUNT I
                                    (Declaratory Judgment)

       29.     Klopotek incorporates by reference paragraphs 1-28 as if fully stated herein.

       30.     Prior to the signing of the SaaS Agreement, the parties engaged in negotiations and

agreed upon the material contractual terms. For example, on June 16, 2016, David Hetherington

of Klopotek emailed a copy of the proposed contract to IUP for their review and comments.

(Exhibit 5.)



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          31.     Prior to the signing of the SaaS Agreement, IUP was fully aware that the proposed

contract included the damages limitation clause. IUP never objected to or rejected its inclusion or

proposed any amendments to it.

          32.     Both parties intended that the damages limitation clause would apply to the SaaS

Agreement.

          33.     IUP signed and assented to the SaaS Agreement, including the damages limitation

clause.

          34.     The decision to limit payment relative to potential liability was made voluntarily,

intelligently, and with knowledge of the legal consequences.

          35.     The damages limitation clause is enforceable under applicable law and is binding

on the parties.

          36.     In light of the allegations above and attached exhibits, any damages for any cause

of action, claim, or lawsuit by IUP against Klopotek that relates to the Parties’ Dispute are limited

to $50,000.00.

          WHEREFORE, Klopotek North America, Inc. respectfully requests that this Court:

                  a.     declare that the damages limitation clause set forth in Section 11.1.1 and
                         11.1.2 in the SaaS Agreement is enforceable and binding on the parties and
                         any related persons and entities;

                  b.     declare that the damages limitation clause set forth in Section 11.1.1 and
                         11.1.2 in the SaaS Agreement limits any damages for any cause of action,
                         claim, or lawsuit between the parties (and any related persons and entities)
                         that pertains to the Parties’ Dispute to $50,000.00; and

                  b.     grant any other relief this Court deems just and equitable.

                                        LEWIS BRISBOIS BISGAARD & SMITH LLP

                                        /s/ Meredith Kaplan Stoma
                                        MEREDITH KAPLAN STOMA, ESQ. (026051991)


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                            Meredith Kaplan Stoma (026051991)
                            LEWIS BRISBOIS BISGAARD & SMITH LLP
                            One Riverfront Plaza, Suite 800
                            Newark, New Jersey 07102
                            Phone: (973)792-8739/Fax (973) 577-6261
                            Meredith.Stoma@lewisbrisbois.com
                            Attorneys for Plaintiff


                            Josh M. Kantrow (pro hac vice anticipated)
                            Thomas M. Wolf (pro hac vice anticipated)
                            LEWIS BRISBOIS BISGAARD & SMITH LLP
                            550 West Adams Street, Suite 300
                            Chicago, Illinois 60661
                            Phone: (312) 345-1718 / Fax: (312) 345-1778
                            Josh.Kantrow@lewisbrisbois.com
                            Thomas.Wolf@lewisbrisbois.com
                            Attorneys for Plaintiff




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                 EXHIBIT 1
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                                                                                                                           !




                                                                                      klopotek.




  SAAS AGREEMENT


   CONTRACT NUMBER SAAS-1 09260-201 6




   CONTRACT                      01


   VERSION                       01




                                 Klopotek North America, Inc.
    LICENSOR:
                                 2001 Route 46
                                                                                                                           I
                                 Parsippany, New Jersey 07054
                                 USA


                                 hereinafter referred to as Klopotek




    LICENSEE:                     Trustees of Indiana University on behalf of the IU Press
                                  1000 Waterway Blvd. Ste. 101

                                  Indianapolis, IN 46202




                                 hereinafter referred to as IUP




    PROJECT:                     SaaS provision of Klopotek Standard Software for Publishers




    STATUS:                      =BgSt^l RELEASED
                                                                                                               x^
                                                                                                                    n P'



© Klopotek North America, Inc.               SaaS Agreement                                  As of: 12 July 2016



                                                                                                      Exhibit
                                                                                                      Exhibit 7
                                                                                                              7
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        Appendices


        All the Appendices listed here constitute an integral part of the contract.

        Appendix 1          SaaS System functionality scope chart

        Appendix 2          List of 3rd Party Software SaaS

         Appendix 3         License, Product Liability and Warranty Conditions of Third Party Software

         Appendix 4         Price List Klopotek SaaS

         Appendix 5         Whitepaper Hardware Configuration Workstation / SaaS remote access

         Appendix 6         Service Levels

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 Preamble

                                                                                                         in
 Klopotek is the developer and owner of the Klopotek standard software for the publishing industry. IUP
                                                                               for its internal business pur
 tends to use the Klopotek software by means of Software as a Service (SaaS)
                                                                                                    shall
 poses. This SaaS Agreement sets out the terms and conditions on which IUP has agreed that Klopotek                         I
 provide the SaaS of the Klopotek software to IUP.

                                                                                          Agreement
 NOW THEREFORE, in consideration of the mutual covenants and agreements contained in this
                                                                                                         ),
 and other good and valuable consideration (the receipt and sufficiency of which are hereby acknowledged
 Klopotek and IUP agree as follows:




 §1             Definitions and Interpretations



 1.1         "SaaS" ("Software as a Service") means the provision of software running on server hardware, at a
                place in Europe to be determined by Klopotek in its own discretion, to be accessed by IUP over
                an internet connection using terminal emulation software.


 1.2        "Licensed Products" means the Klopotek standard software products providing the functionality
                specified in Appendix 1.


 1.3        "Third Party Software" means the third party software products specified in Appendix 2.


 1.4        "Software" means collectively the Licensed Products and the Third Party Software.


 1.5        "SaaS System" means the Software and hardware provided by Klopotek by means of SaaS to IUP.


  1.6        "Working Day" means 9 am to 5 pm (GMT-5.00 = Eastern Time) on any day in the State of New
                 Jersey other than Saturday, Sunday or statutory holidays.


  1.7        "Klopotek Price List" refers to Klopotek's current price list for "Klopotek SaaS" (Appendix 4). Any
                 reference to the Klopotek Price List includes all future changes and updates of the price list as
                 from time to time amended, changed or updated at Klopotek's sole discretion.


  1.8        "Fault" means (1) any difference between the expected result set out in the documentation relating
                to the business transactions in question (Appendix 1 and product documentation, cf. Sec. 2.1.4)
                 and the actual result achieved when processing the business transactions or (2) any failure (i.e.
                 non-availability) of the SaaS System due to a default of Klopotek that results in IUP being una
                 ble to utilize the Licensed Products for the performance of business transactions.

                                                                                                                       I*
  1.9        Where there is any conflict or inconsistency between Clauses of this Agreement and any Schedule
             or Appendix, the provisions of Clauses of this Agreement shall prevail.


                                                 SaaS Agreement                                  As of: 12 July 2016
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                                                                                                 substantive
 1.10      The headings used in this agreement are for convenience only and do not constitute
                                                                                                   "include",
           matter to be considered in construing its terms. The use in this agreement of the terms                              I
                                                                                                 the words "with
           "includes", "including", and "such as" shall be deemed in all cases to be followed by
                                                                                                    institution in
           out limitation". When used in this agreement, "University" includes all segments of the
                                                                                                        of Indi
           cluding all, athletic and academic departments, as defined in the legal entity "The Trustees
           ana University."




 § 2            Subject of this SaaS Agreement



 2.1        Software


                                                                                                   Klopotek to
 2.1.1          Subject of this SaaS Agreement is the SaaS provision of the Licensed Products by
                                                                                                     avoidance
                IUP for lUP's own internal business purposes for the term of this Agreement. For the
                                                                                                           par-
                of doubt, IUP shall not use the SaaS System for the purpose of providing services to third
                ties.


                                                                                                          is neces
 2.1.2          In addition Third Party Software will be provided to the extent such third party software
                sary for the SaaS.


                                                                                                             be
                Such license and lUP's use of the Third Party Software (inclusive of any warranties) shall
                                                                                                         conditions
                subject to the terms, conditions, restrictions and requirements of the product liability
                                                                                                              Party
                and other conditions (including license conditions) of the respective manufacturers of Third
                                                                                                             to
                Software (Appendix 2). In particular, with respect to Microsoft software Klopotek is obliged
                                                                                                   of Sec. 6
                pass through the Microsoft Customer License Terms (Appendix 3) and the obligations
                                                                                                         re
                Microsoft Service Provider License Agreement (SPLA) and the further terms and conditions
                ferred to therein. IUP acknowledges and agrees to these terms and conditions.


                                                                                                             of the
 2.1.3          The current versions of the Third Party Software are listed in Appendix 2. The functionality
                                                                                                     1.
                Licensed Products as provided pursuant to this Agreement is specified in Appendix


                                                                                                      the
  2.1.4          Documentation of the Licensed Products is provided as an online documentation within
                                                                                                           not
                 SaaS System. The documentation may contain descriptions of and reference to functionality
                                                                                                         to this
                 within the scope of this Agreement. The functionality of the Licensed Products pursuant
                 Agreement is solely as described in Appendix 1.




                                                                                                                       "Dwvjt


                                                                                                                           11




                                                 SaaS Agreement                                  As of: 12 July 2016
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2.2        Hardware and Infrastructure


                                                                                         the SaaS provision of
2.2.1          Klopotek provides the hardware and technical infrastructure necessary for
                                                                                                 Hardware
               the Software and provides the technical operation of such hardware and Software.
                                                                                          regards to the antici
               and infrastructure are dimensioned to provide adequate performance with
                                                                                             ure ends at the con
               pated usage. Klopotek's responsibility for hardware and technical infrastruct
                                                                                                 of doubt, remote
               nection point of Klopotek's data center to the public internet. For the avoidance
                                                                                                 and software) is
               access to and utilization of the SaaS System (including the IUP client hardware
               solely lUP's responsibility and not provided by Klopotek.


                                                                                               Party Software,
 2.2.2         The current setup and management of the SaaS System (e.g. regarding Third
                                                                                            in Appendix 6.
               hardware and technical infrastructure) is described for information purposes
                                                                                           Third Party Software,
                Klopotek may change all aspects of the SaaS System, including hardware,
                                                                                       its own discretion, pro
                components, configuration, management and technical infrastructure, in
                                                                                              ed considering
                vided that the SaaS Systems shall remain adequate (i.e. sufficiently dimension
                                                                                             SaaS System) for
                the number of users, anticipated use and amount of data processed with the
                                                                                            result in a reduc
                the SaaS provision of the Licensed Products and that such changes shall not
                tion of functionality or performance.


                                                                                                  and file sys
 2.2.3          Klopotek provides storage space on its hardware and infrastructure (i.e. database
                                                                                           IUP and the data nec
                tem storage space) in accordance with Appendix 6 for the data created by
                essary to utilize the SaaS System.


                                                                                         accordance with Ap
 2.2.4          Klopotek ensures regular backups of the database and the file system in
                                                                                          e of any retention or
                pendix 6, Sec. 6.6. However, Klopotek is not responsible for the observanc
                                                                                               requires a recovery of
                record-keeping periods that IUP may legally be required to observe. If IUP
                                                                                                       shall be
                data, and the loss of data is not attributable to a default of Klopotek, such recovery
                                                                                          basis.
                charged in accordance with the Klopotek Price List on a time and material



  2.3       Availability


                                                                                                    6. Sec. 5, pro
  2.3.1          Klopotek provides and makes the SaaS System available as set out in Appendix
                                                                                              in Appendix  6, Sec.
                 vided that the annual availability shall be 99.5% (instead of 98% as set out
                 5).



                                                                                                                        Cs.
                                                                                                                        fv

                                                  SaaS Agreement                                 As of: 12 July 2016
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                                                                                                        months writ
2.3.2          Klopotek may change the availability pursuant to Appendix 6, Sec. 5 by giving three
                                                                                                    hardware pro
               ten notice to IUP if and to the extent Klopotek's suppliers (e.g. Internet provider,
                                                                                                          ts. If IUP
               vider, Third Party Software provider) change their service levels or technical requiremen
                                                                                                    t by giving
               does not agree to the change, IUP shall have the right to terminate this Agreemen
                                                                                                   termination will
               Klopotek written notice within one month after receipt of the change notice. The
                                                                                                    the termination
               take effect three month after Klopotek's receipt of lUP's termination notice. Until
               becomes effective, Appendix 6. Sec. 5 remains unchanged.


                                                                                                    outside
 2.3.3         Klopotek will undertake commercially reasonable efforts to maintain the SaaS System
                                                                                                   If mainte
               Working Days and to minimize interference of maintenance with lUP's system usage.
                                                                                               reasons, the
                nance needs to be performed on Working Days due to technical or organizational
                parties will coordinate such maintenance.


                                                                                                        each 0.1%
 2.3.4          If availability of the SaaS System is less than agreed, Klopotek will refund to IUP for
                                                                                                      satisfaction of
                of lower availability 0.05% of the annual SaaS Fee, in full and final settlement and
                                                                                                 incurred by IUP.
                Klopotek's entire liability for any loss, damages, costs or expenses suffered or




 2.4        Setup and Go Live


                                                                                                   before go live.
 2.4.1          The SaaS System shall be configured, tested and implemented in a setup project
                                                                             agree a separate setup project with
                The setup project is not subject of this Agreement. IUP will
                Klopotek or a Klopotek implementation partner.



 2.4.2          For the setup project, Klopotek will provide:
                                                                                                    nt which
                -    A production environment ("PROD"). This environment shall become the environme
                     will be used after go live by IUP for productive use.
                                                                                                          or the
                -    A test environment ("TEST"). This environment shall be used by IUP and Klopotek
                     Klopotek implementation partner in order to test configurations and train lUP's staff.
                                                                                                  Klopotek or
                -    A migration environment ("MIG"). This environment shall be used by IUP and
                     the Klopotek implementation partner for migrating legacy data into the SaaS System.


                                                                                                last day of the
  2.4.3          Provision of a TEST and MIG environment is included in the SaaS Fee until the
                                                                                                  ts. After go
                 month of go live. After go live Klopotek will delete the MIG and TEST environmen
                                                                                               only on lUP's
                 live, Klopotek will provide a separate TEST environment or other environments
                                                                                               fee in accord
                 request. The setup of such environments requires payment of a one-time setup
                                                                                                     SaaS Fees in
                 ance with the Klopotek Price List. Klopotek will charge IUP with additional monthly
                                                                                                  of doubt, Sec.
                 accordance with the number of users on such environments. For the avoidance
                 2.3.4 does not apply to the TEST and MIG environment.




                                                  SaaS Agreement                                  As of: 12 July 2016
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                                                                                                                          1




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                                                                                                     and pro
2.5        The usage and utilization of the Software and the SaaS System, in particular the creation
           cessing of data using the SaaS System, is lUP's sole responsibility.
                                                                                                                              !




 §3             Ownership and rights of use


                                                                                                     Licensed
 3.1        IUP acknowledges and agrees that all right, title and interest whatsoever, in and to the
                                                                                                           rights
            Products, the SaaS System and the product documentation, including all intellectual property
                                                                                                          the
            therein is, and shall be, owned solely and exclusively by Klopotek and/or its licensors. For
                                                                             ns or enhanceme    nts to or deriva
            avoidance of doubt, all improvements, innovations, customizatio
                                                                                                    invented,
            tives of the Licensed Products, the SaaS System and the product documentation, whether
                                                                                             employees, con
            conceived, produced, created or otherwise developed by Klopotek or IUP (or their
                                                                                                        Klopotek.
            tractors or agents), whether jointly or severally, shall be owned solely and exclusively by
                                                                                                       convey to
            Nothing in this Agreement shall, or shall be deemed or construed to, assign, transfer or
                                                                                                            Products
            IUP any title, rights or interest in any intellectual property, including in or to the Licensed
            and the product documentation, other than the licenses or other rights specifically and expressly
            granted herein.


                                                                                                       to the data
            For the avoidance of doubt, IUP remains the sole owner of all intellectual property rights
            stored in the SaaS System by IUP.



                                                                                                       the Li
 3.2        Klopotek grants to IUP a non-perpetual, non-exclusive and non-transferable license to use
                                                                                                   set out in
            censed Products and the product documentation during the term of this Agreement (as
                                                                                                           speci
            Sec. 4) for lUP's own internal business purposes, subject to the maximum number of users
                                                                                          herein. The license is
            fied herein and any other limitations, restrictions or requirements specified
                                                                                                            not be
            non-transferable and non-assignable. The SaaS System and the Licensed Products shall
                                                                                                  for third parties) or
            used by or for the benefit of third parties (e.g. by IUP acting as a service provider
            sublicensed to third parties.



            The licenses granted herein are subject to the following conditions and limitations:




                                                  SaaS Agreement                                   As of: 12 July 2016
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             LANGUAGE                                ENGLISH LANGUAGE VERSIONS.

             TERM                                    SEE SEC. 4

             NUMBER OF USERS                         40 USERS
                                                     USERS ARE NAMED USERS (INDIVIDUAL PERSONS) DEFINED
                                                     BY ACCESS NAMES OF THE PERSON OR USER. USERS ARE
                                                     COUNTED AS REGISTERED IN THE SECURITY DATABASE OF
                                                     THE KLOPOTEK STANDARD SOFTWARE. THE NUMBER OF
                                                     USERS IS RELEVANT FOR THE DEGREE OF UTILIZATION.
                                                     JOINT USAGE OF AN ACCESS NAME THROUGH VARIOUS
                                                     PERSONS IS NOT PERMITTED.

             LICENSE FEE SAAS SYSTEM PER USER        SEE APPENDIX 9                                                          !
             AND MONTH




                                                                                                        for a pe
3.3         If IUP is in default with the payment of more than one invoice or material amounts thereof
                                                                                                     available to
            riod of more than 30 days, Klopotek shall be entitled, in addition to any other remedies
                                                                                                   IUP has paid
            Klopotek, to revoke the license and suspend lUP's access to the Klopotek system until
                                                                                                   prior written
            all outstanding amounts in full. Such suspension shall require Klopotek giving 30 days
                                                                                                          such rev
            notice notifying IUP of the default and requiring it to be cured. For the avoidance of doubt,
            ocation and suspension shall not constitute a termination of this Agreement.




 §4             Term and termination


                                                                                                   payable
 4.1        The effective date of this Agreement is August 1, 2016 The SaaS Fee shall first become
            on August 1, 2016.



                                                                                                        For the
 4.2        Klopotek shall provide the SaaS System to IUP on the effective date of this agreement.
                                                                                                      is therefore
            avoidance of doubt, the setup project is not subject to this Agreement. Initial provision
                                                                                                     t (subject to
            limited to test and/or migration environments until go-live of the production environmen
            the setup project agreement).



                                                                                                           date
 4.3        The initial term of this Agreement shall commence on the 1st day of the month of the effective
                                                                                                   for succes
            and shall continue for a period of 36 months. Thereafter this Agreement shall continue
                                                                                                       months
            sive 12 month periods on the same terms, unless terminated by either party by giving three
            written notice to the end of a term.



                                                                                                          party
 4.4         Either party may terminate this Agreement by written notice to the other party if that other
                                                                                                           is capa
             commits a material breach of its obligations under this Agreement and, where such breach
                                                                                                                  from
             ble of remedy, fails to remedy such breach within thirty (30) days after receipt of written notice
                                                                                                              it to be
             the party seeking to terminate the Agreement setting out details of the breach and requiring
             remedied.




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4.5         IUP represents that, as of the date of the Agreement, funds sufficient to pay immediate financial ob
            ligations under the Agreement have been allocated and are available. However, IUP is a publicly
            funded entity and our ongoing financial obligations herein are subject to allocation of funds by par
            ties not controlled by the IUP. In the event, through no action initiated by the IUP, the legislative
            body of the State of Indiana does not appropriate sufficient funds allowing for the continuation of the
            agreement for any fiscal year, whole or part, and there are no funds from other sources to continue,
            the Agreement may be terminated by IUP.




 4.6        In the event of any proceedings in bankruptcy or insolvency by or against Klopotek, or in the event
            of the appointment (with or without the preferred participant's consent) of an assignee for the benefit
                                                                                                                                 !
            of creditors, or of a receiver, IUP may cancel this agreement




 4.7        Upon termination IUP may request Klopotek to export and assist with the migration of lUP's data.
            Klopotek shall provide the data export in an open and readable industry standard format (e.g. XML).
            Such export and assistance will be charged in accordance with the Klopotek Price List on a time
                                                                                                                                 I
            and material basis.




 4.8        IUP shall be entitled to require Klopotek to continue to provide the SaaS System for up to 6 months
            after termination of this Agreement upon the then-current terms and conditions of this Agreement
            (including payment terms) if such continuation is required in order to allow for the orderly transfer
            and winding-up of all or part of functionality provided by the SaaS System. This Sec. 4.6 is not ap
            plicable if Klopotek has terminated the Agreement for material breach by IUP. Continuation shall be
            on an "as is" basis, i.e. Klopotek is not required to install or provide new versions pursuant to Sec.
            8.




 §5              Fees and Payment



 5.1         In consideration of the SaaS provision of the SaaS System a monthly fee will be paid by IUP (the
             "SaaS Fee") in accordance with Appendix 9. starting on or about 8/1/2016 The SaaS Fee is payable
             in advance before the start of each month.




 5.2         Consultancy services and any other work or services carried out by Klopotek not included within the
             scope of this Agreement shall be charged in accordance with the Klopotek Price List.




                                                                                                                      vxyi


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                                                                                                ") by giving
5.3        Klopotek shall have the right to align the SaaS Fee for a new term ("price alignment
                                                                                               the  price for the
           three months written notice. For the avoidance of doubt, Klopotek will not increase
                                                                                                   the SaaS Fee for
           period of the initial term (Sec. 4.3). Klopotek hereby agrees that it will not increase
                                                                                                Adjustment (COLA)
           a new term by a percentage, which is greater than the published Cost-of-Living
                                                                                            by a greater percent
           since the last price alignment. However, Klopotek may increase the SaaS Fee
                                                                                                 provider, Third
           age if and to the extent Klopotek's subcontractors (e.g. Internet provider, hardware
                                                                                        to the price alignment,
           Party Software provider) increase their prices. In case IUP does not agree
                                                                                            notice within one
           IUP shall have the right to terminate this Agreement by giving Klopotek written
                                                                                               three month after
           month after receipt of the price alignment notice. The termination will take effect
           Klopotek's receipt of lUP's termination notice.



                                                                                        t, exclude all applicable
 5.4       The SaaS Fee and any other amounts payable by IUP under this Agreemen
                                                                             levies and charges, chargeable by
           sales, goods and services, value added, use, or other like taxes,
                                                                                               and IUP shall pay
           or payable to any federal, provincial, state, local or municipal taxation authority
                                                                                                by law.
           and Klopotek shall remit the same to all applicable taxing authorities as required



                                                                                       in respect of such sums, if
 5.5        IUP may only retain monies due to Klopotek, or exercise a right of set off
                                                                                        a final and binding court
            they relate to an undisputed claim by IUP or to a claim awarded to IUP by
            judgment.



                                                                                                 t within thirty
 5.6        If IUP fails to pay the SaaS Fee or any other amounts payable under this Agreemen
                                                                                          from the date that the
            (30) calendar days after its due date, such unpaid amount shall bear interest
                                                                                                  re, such failure
            amount is payable to the date of payment at the rate of 10% per year, and furthermo
                                                                                        to any other remedies
            shall be deemed to be a material breach of this Agreement and in addition
                                                                                       ce of this Agreement until
            available to Klopotek, Klopotek shall be entitled to suspend the performan
            IUP has paid all outstanding amounts in full.



                                                                                                   and expenses
 5.7        Except as expressly provided in this Agreement, each party shall pay its own fees
                                                                                            tives, attorneys and
            (including, without limitation, the fees and expenses of its agents, representa
                                                                                           delivery and perfor
            accountants) incurred in connection with the negotiation, drafting, execution,
             mance of this Agreement and the transactions it contemplates.




  § 6            Co-operation and obligations of IUP


                                                                                           Klopotek in order to
  6.1        IUP shall provide to Klopotek all information which is reasonably required by
             provide the SaaS System.




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 6.2        IUP shall obtain all required approvals from third parties or authorities for lUP's usage of the SaaS
            System. This does not comprise approvals regarding the technical operation of the SaaS System.



                                                                                                            Ap
 6.3        The SaaS System can be accessed by IUP via remote access over the internet as specified in
            pendix 5. IUP undertakes to follow the specifications of Appendix 5 in relation to remote access.
                                                                                                           in
            Klopotek may adapt the remote access specifications to further technical developments (e.g. by
            corporating new hardware specifications or updating the required hardware  and software versions)
                                                                                                             be
            and IUP shall update its installation at its own expense. Klopotek shall inform IUP in good time
            fore a planned conversion by handing over the amended specifications.




 §7             Support and Maintenance



 7.1        Hotline



 7.1.1          Klopotek shall provide a hotline on Working Days. Only the IUP employees named in Appendix

                7 shall use the hotline. For the avoidance of doubt, Klopotek may appoint a local partner to pro
                vide the hotline and 1st level support.



 7.1.2          The hotline to be provided by Klopotek pursuant to Sec. 7.1.1 shall provide IUP with assistance
                with, but not limited to:


 7.1.2.1        problem diagnosis including, but not limited to, analysis of error messages, the identification and
                isolation of the source of the problem and obtaining information and status of existing problems;


 7.1.2.2        resolving defects including, but not limited to, obtaining solutions to Klopotek problems or meth
                ods to avoid problems without compromising system performance or by obtaining a workaround
                to the problem, including but not limited to, installation issues and operating system environment
                details that relate to Software operation and functionality issues;


  7.1.2.3        provision of software bug fixes when a known problem is encountered.



  7.1.3          If Faults occur, IUP shall notify Klopotek in writing, describing the symptoms of the Faults where
                 reasonably practicable. IUP commits to notify Klopotek about all Faults that have occurred via
                 Webtrace, which is Klopotek's internet based tracking system. Klopotek shall give IUP on-line
                 access via Webtrace to all Faults and problems reported by IUP, including details of Faults,
                 which are open, the current status of bug fixes and Faults, which have been closed. If Klopotek
                 has closed a Fault in Webtrace and IUP considers that a Fault has not been resolved, IUP can
                                                                                                                      \)VVV^
                 file an objection with Webtrace, creating a follow-up Fault report within a period of 14 Working
                 Days. A Fault shall be deemed to be fixed if IUP does not create a follow-up report within such
                 period.


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                                                                                    Fee.
 7.1.4          The use of the hotline for reporting Faults is included in the SaaS


                                                                                       right to refer IUP to
 7.1.5          In case of a fault reported by IUP not being a Fault Klopotek has the
                                                                                                                              i
                                                                                      lUP's report. The hotline's
                Klopotek consultants and consulting services for further handling of
                                                                                  Klopotek Price List.
                and the consultants' work shall be charged in accordance with the




 7.2        Fault rectification


                                                                                       reasonably as follows:
 7.2.1          All Faults are classified by mutual consent between the Parties acting

                  Fault Priority 1 (Fault        | First priority Faults exist when functions of the SaaS System can no
                  Prio 1)                        longer be processed and cannot be by-passed (prevention of opera
                                                 tion) where immediate assistance is required by IUP due to the fault
                                                 having a critical impact on IUP operation and business.
                                                                                                                        an
                  Fault Priority 2 (Fault        : Second priority Faults exists when the defect can be replaced in
                                                   equal manner by other functions     of the SaaS System,  and when   the
                  Prio 2)
                                                   fault will have a significant impact on IUP operation and business.

                  Fault Priority 3 (Fault         Third priority Faults exist when there are only minor difficulties in us
                  Prio 3)                         ing the SaaS System and the fault does not have any substantial ef-
                                                  feet on the usability of the SaaS System.



  7.2.2          Fault reports by IUP must:

                                                                                                       whenever rea
                     •       include sufficient information to enable Klopotek to reproduce the Fault,
                             sonably possible;
                                                                                               t the Fault);
                      •      be in writing using Webtrace (including attachments which documen
                                                                                                      , if applica
                      •      include the message of the program function and text of any error message
                             ble; and

                      •      describe the effects of the Fault.


                                                                                      by Klopotek and neces
  7.2.3          IUP shall make available all documents and data reasonably requested
                                                                                       sufficient qualified operat
                 sary for diagnosing the Fault and shall support Klopotek by providing
                                                                                         diagnosis and rectifica
                 ing personnel and any other assistance reasonably necessary for Fault
                 tion, free of charge.


                                                                                       a Fault and to correct
  7.2.4           Klopotek shall use commercially reasonable endeavors to respond to
                                                                                     generality of the foregoing,
                  Faults as soon as reasonably practicable. Without prejudice to the
                  Klopotek shall respond to the Fault notification:

                                                                                                       is received on a
                         •   for Fault Priority 1 , on the same day as the Fault report, if the latter
                                                    Working Day, otherwise immediately afterwards on the next Working
                                                    Day;




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                                                                                                           Fault re
                    •    for Fault Priority 2, no later than the next Working Day following receipt of the
                                             port;

                                                                                                            Fault Re
                    •    for Faults Priority 3, no later than the next Working Day following receipt of the
                                             port.

                                             Faults Priority 1 and 2 in the Licensed Products are usually fixed by
                                             a patch, Faults Priority 3 in the Licensed Products are usually cor
                                             rected in the next version of the software.



                                                                                                          of the SaaS
 7.2.5          If the reported Fault produces a condition which no longer permits further operation
                                                                                                    report Klopotek
                System in whole or in part, or significantly reduces it, after receipt of the Fault
                                                                                                   ly state how the
                shall without prejudice to its obligations hereunder to correct the Fault immediate
                Fault can be bypassed, if applicable.


                                                                                                   will advise IUP of
 7.2.6          Should it not be possible to rectify the Fault within a reasonable time, Klopotek
                                                                                                  to resolve the
                the Users that will be affected as a result of the Fault; the actions being taken
                                                                                              whereupon the
                Fault and any assistance that Klopotek requires from IUP to resolve the Fault
                                                                                                   technical
                Parties may jointly agree a course of action to develop and carry out a reasonable
                and/or organizational alternative.


                                                                                                    documented by
 7.2.7          Klopotek shall document the Fault rectification on the basis of the Fault situation
                IUP.


                                                                                                     that may exist
 7.2.8          Klopotek is neither able to nor required under this Agreement to correct any faults
                                                                               extent that it is able, to notify the
                in the Third Party Software. Klopotek is however bound, to the
                                                                                                 and to implement
                relevant Third Party Software supplier of any faults in the Third Party Software
                                                                                                    where such
                any corrections, new versions or new releases of such faulty Third Party Software
                corrections are generally known to Klopotek.




 §8              Updates and Upgrades


                                                                                                    if Klopotek or
  8.1        Klopotek may in its own discretion provide new versions of the Software, in particular
                                                                                            available to the pub
             the respective supplier of Third Party Software makes a new version generally
             lic and if such new version is suitable for SaaS.



                                                                                            of a new version
  8.2        However, IUP may not demand the provision of new versions unless the provision
                                                                                        by the legislature of
             of the Licensed Products is necessary to comply with any changes demanded
             the countries listed in Sec. 3.2




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8.3        For the avoidance of doubt, companies, regulatory bodies or similar enterprises such as Post, Tele
           com, BIC, BISG, ISO, regardless of their structure, are not defined as the legislature for the pur
           poses of this Clause. Changes in the Licensed Products caused by changes of the terms of con
           tract, tariffs, procedural regulations or the like of these undertakings are not changes in legislature
           for the purpose of this Clause, even if such changes have to be approved by an ordinance or regu
           lation or by another public authority.




8.4        In the event Klopotek provides an Upgrade of the Licensed Products (i.e. a version with expanded
           functions, where these expanded functions are usually issued by Klopotek as separate and new
           products), Klopotek may offer new or expanded functions for a modified SaaS Fee. IUP may decide
           in its own discretion whether to use such new or expanded functions for the modified SaaS Fee. If
           IUP declines the offer, the new or expanded functions will not be activated for IUP and the SaaS
            Fee remains unchanged.




8.5         Klopotek will perform installation of an Upgrade the Licensed Products at no additional costs. How
           ever, installation, adaptation or modification of customer-specific customizations or components
            (e.g. reports, interfaces) that become necessary due to the Upgrade shall be performed by IUP.
            Upon lUP's request, Klopotek will provide IUP with a written offer for such upgrading of customer-
            specific customizations or components.




 8.6        IUP shall receive the new Product Documentation in electronic form in the event of an update or an
            upgrade of the Licensed Products at the same time as the provision of the update or the upgrade of
            the Licensed Products.




 8.7        Insofar the provision of a new version of Software results in a reduction of the functionality of the
            Software, severe detriments regarding lUP's workflow or severe detriments regarding the usability
            of data created by IUP, and this is known to Klopotek prior to the new version taking effect,
            Klopotek will notify IUP of such detriments at least one month before provision of the new Software
            version. In that event shall have the right to terminate this Agreement by giving Klopotek written no
            tice within one month after receipt of the notification.




 §9             Intellectual Property Rights



 9.1        Klopotek warrants to IUP that, to the knowledge of Klopotek, the Licensed Products are free from
            third-party rights, which could prevent or restrict their use by IUP.




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                                                                                                                                 }
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                                                                                                                                 ;


                                                                                                                                 I

                                                                                                            to Sec.
 9.2        If, in the event of a claim by a third party alleged after conclusion of the Agreement pursuant
            9.1 (an "Infringement Claim"), lUP's use of the Licensed Products is impaired or prohibited,
                                                                                                     (1) procure
            Klopotek shall use commercially reasonable efforts, in Klopotek's discretion, to either:
                                                                                       Products or the infringing
            (at no additional cost to IUP) lUP's right to continue to use the Licensed
                                                                                                                 part
            part or parts thereof, as the case may be; or (2) replace the Licensed Products or the infringing
                                                                                                         y similar
            or parts thereof, as applicable, with a substitute that provides materially and substantiall
                                                                                                             parts
            performance and functionality; or (3) modify or replace the Licensed Products (or infringing
                                                                                                       performance
            thereof) as the case may be, so that it is non-infringing without materially affecting its
            or functionality.



                                                                                                    the extent such
 9.3        Klopotek shall have no liability to IUP or any other person for Infringement Claims to
                                                                                 use by IUP of the Licensed Prod
            Infringement Claim has been caused or contributed to by (1) any
                                                                                                     in accord
            ucts in breach of this Agreement, or any use by IUP of any Licensed Products that is not
                                                                                     to other  persons;  or (3)
            ance with the Product Documentation; or (2) any services provided by IUP
                                                                                                      using
             any use of the Licensed Products by IUP after written notice by Klopotek to IUP to cease
             same in connection with an Infringement Claim.




 §10             Warranties



  10.1       Klopotek warrants that:


                                                                                                            that it
  10.1.1         it has the ability to perform the services and deliver product required by this Agreement;
                                                                                                              man
                 will perform said services and deliver said product in a professional, competent and timely
                                                                                                                 e of
                 ner; that it has the power to enter into and perform this Agreement; and that its performanc
                                                                                           party or violate any fed
                 this Agreement shall not infringe upon or violate the rights of any third
                 eral, state, or local laws or regulations; and



  10.1.2         the Licensed Products operate in accordance with the Product Documentation.




                                                                                                                         "v^ii


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                                                                           provided by Klopotek and there are no
 10.2      The warranties in this Agreement are the only warranties
                                                                              including all warranties or conditions of
           other warranties, whether written, oral, statutory or implied,
                                                                         or arising from a course of dealing or usage      i
           merchantable quality or fitness for a particular purpose,
                                                                         except as expressly set forth in this Agree
           trade, all of which are expressly denied and disclaimed:
                                                                        warranties of any kind or nature whatsoever
           ment, IUP accepts and agrees that Klopotek makes no
                                                                          SaaS System and other services, including
           concerning the SaaS System, the SaaS provision of the
                                                                        (ii) the functionality, operation or use of the
           (i) that they are error free or free from latent defects, or
                                                                     has not relied on any warranty or promise
           SaaS System. IUP and Klopotek each confirm that it
                                                                        stated in this Agreement.
           made by the other party which has not been expressly
                                                                                                                               I




 §11            Liability



  11.1      The Parties agree that:


                                                             AND GROSS NEGLIGENCE IN
  11.1.1        BOTH PARTIES SHALL BE LIABLE FOR WILLFULNESS
                ACCORDANCE WITH STATUTORY PROVISIONS.


                                                          IN THE AGGREGATE FOR ANY AND ALL
  11.1.2        THE LIABILITY AND OBLIGATION OF KLOPOTEK,
                                                             WITH THIS AGREEMENT, WITH
                CLAIMS ARISING OUT OF OR IN ANY CONNECTION
                                                                INJURY, OR LIABILITY OF ANY
                 RESPECT TO ANY COST, EXPENSE, DAMAGE, LOSS,
                                                           OF THE FORM OF ACTION OR THEORY
                 KIND OR NATURE WHATSOEVER, REGARDLESS
                                                             ACT, EQUITY, TORT, NEGLIGENCE,
                 OF LIABILITY (INCLUDING FOR BREACH OF CONTR
                                                                 DIRECT DAMAGES AND SHALL
                 BY STATUTE OR OTHERWISE) SHALL BE LIMITED TO
                                                              .
                 NOT EXCEED FIFTY THOUSAND DOLLARS ($ 50,000)


                                                             OR TO ANY THIRD PARTY FOR ANY
  11.1.3         IN NO EVENT SHALL KLOPOTEK BE LIABLE TO IUP
                                                             CONSEQUENTIAL DAMAGES OF ANY
                 SPECIAL, INDIRECT, INCIDENTAL, EXEMPLARY OR
                                                             LOSS OF DATA, LOSS OF REVENUE
                 KIND OR NATURE WHATSOEVER (INCLUDING FOR
                                                                  RED BY IUP OR OTHER THIRD
                 OR PROFITS OR FOR BUSINESS INTERRUPTION) SUFFE
                                                             OF THE FORM OF ACTION OR
                 PARTY HOWSOEVER CAUSED AND REGARDLESS
                                                               CONTRACT, TORT, NEGLIGENCE,
                 THEORY OF LIABILITY (INCLUDING FOR BREACH OF
                                                                ES ARE FORESEEABLE OR
                  BY STATUTE OR OTHERWISE), EVEN IF SUCH DAMAG
                                                                OF SUCH DAMAGES.
                  KLOPOTEK HAS BEEN ADVISED OF THE POSSIBILITY



                                                                     in Appendix 10.
   11.2       Klopotek shall observe the minimum insurance as listed




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11.3       Klopotek shall indemnify and save harmless IUP, its officers, agents and employees from any and
           all losses, costs, damages, liability and expenses (including costs of defense, settlement, and rea
           sonable attorney's fees) in connection with claims or suits of third parties for damage to property
           and/or injury to persons, including death, alleged or claimed to have been caused, by or through the
           performance of the work or operations incidental to the work, by Klopotek, its agents or employees,
           or by its subcontractors of any tier, their agents or employees, whether through negligence or willful
           act; and Klopotek shall at request of IUP undertake to investigate and defend any and all such
           claims or suits against IUP




11.4        If, because of riots, war, public emergency or calamity, fire, flood, earthquake, act of God, govern
           ment restriction, business operations at IUP are interrupted or stopped, the performance of the
           Agreement, with the exception of money already due and owing, shall be suspended and excused
           to the extent commensurate with such interfering occurrence. The expiration date of the Agreement
                                                                                                                              :
           may be extended, by mutual written consent, for a period of time equal to the time that such default
           in performance is excused. Neither party shall be in considered in breach of the agreement for fail
           ure to perform if such failure is caused by national or local calamity, acts of terrorism, the act or reg
           ulation of any public authority, labor difficulty or strike, war, epidemic, fire, storm, inclement weather
           or other act of God, or any other cause beyond the reasonable control of the non-performing party
           that renders that party's performance impossible.                                                                  !




 §12       Confidentiality


 12.1       In this Agreement "Confidential Information" means all information and documents disclosed by a
            party (the "Disclosing Party") to the other party (the "Receiving Party"), including, without limitation,
           software, know-how, formulas, processes, ideas, inventions (whether patentable or not), schematics
           and other technical, business and financial information. Confidential Information includes not only
           written information but also information transferred orally, visually, electronically or by any other
            means.




 12.2       Confidential Information shall not include information
            - which was known to the Receiving Party prior to disclosure by the Disclosing Party; or
            - which is lawfully made available to the Receiving Party by a non-party free to make such disclo
            sure without breach of any legal obligation; or
            - which the Receiving Party develops independently without use of any Confidential Information; or
            - which is, or becomes, publicly available without breach of any duty of confidentiality.



                                                                                                                        \)#


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 12.3       Each party shall at all times during the performance of this Agreement use the Confidential Infor
            mation of the other party solely and exclusively as may be reasonably necessary for the perfor
            mance of its duties or the exercise of its rights pursuant to this Agreement, and for no other purpose
            without the other party's prior written consent. Confidential Information shall be kept secret and con
            fidential and shall not be disclosed to anyone except, on a need-to-know basis, to a limited group of
            its own directors and employees (in case of Klopotek including, directors and employees of affiliated
            companies) and outside professional advisors. Each person to whom such Confidential Information
            is disclosed must be advised of its confidential nature and of the terms of this Agreement and (un

            less already bound by obligations of confidentiality) must agree in writing to abide by such terms.

                                                                                                                       |

 12.4       The Receiving Party may disclose Confidential Information where disclosure has to be made as a
            result of subpoena, requirement or official request from any competent judicial, administrative, legis
            lative or regulatory authority or body. In this case the Receiving Party shall provide the Disclosing

            Party with prompt notice so that the Disclosing Party may seek a protective order or other appropri
            ate remedy and/or waive compliance with the provisions of this Agreement.




 12.5       Upon the completion of or any termination or expiration of this Agreement, or upon the written re
            quest of a Disclosing Party at any time, a Receiving Party shall return all hard copy documents
            which contain Confidential Information to the Disclosing Party, shall destroy all electronic docu
            ments or files which contain Confidential Information and shall immediately cease all use of the
            Confidential Information.

                                                                                                                       i



 12.6        Unless specifically authorized in writing by the University Purchasing Department on a case by
            case basis, Klopotek shall have no right to use, and shall not use, the name of Indiana University,
            its officials or employees, or the seal or marks of the University in advertising, publicity, or promo
            tion; nor to express or imply any endorsement of Klopotek's supplies or services.




 12.7       Klopotek acknowledges that University is subject to the Indiana Access to Public Records Act
            (APRA), I.C. 5-14-3-et seq., and that this Agreement, and some or all of the documents provided
            pursuant to this Agreement, may be required to be disclosed pursuant to that law. Klopotek further         I
            acknowledges that certain categories of records or documents may not have to be produced pursu
            ant to APRA. Klopotek agrees to use its best efforts to mark records and documents provided to
            IUP that it believes, in good faith, are not required to be produced pursuant to APRA, as "Confiden
            tial". (For example, trade secrets as defined by the Indiana Code.) IUP agrees that, upon receipt of
            a request made pursuant to APRA for documents that have been marked "Confidential", or that is
            deemed to be Confidential Information under this Section 12, it shall a) promptly notify Klopotek of
            the fact and content of the request, b) consult with Klopotek regarding whether or not the University
            is required to produce the documents, and c) disclose the records that IUP, in the opinion of its legal
            counsel, is legally compelled to disclose.
                                                                                                                       '
                                                                                                                       !




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                                                                                                                                !

Contract Number: SaaS-109260-2016-01-01                                                              Page 18 of 21

                                                                                                                                !




            In the event that IUP is made party to any proceeding or litigation arising out of the assertion of an
           exemption to APRA, Klopotek shall indemnify University for all costs, attorney fees, awards, fines,
           damages or other monetary amount of any kind. Klopotek shall cooperate with IUP in defending
           any such proceeding or litigation.




 12.8      The provisions of this Sec. 12 shall survive the termination or expiration of this Agreement or part
           thereof.




§13            Additional services



 13.1       Klopotek provides upon request the account management services described in Appendix 6. Sec.
           6.10. These services may be ordered using Webtrace and are included in the SaaS Fee.



 13.2       IUP may order additional services not covered by the SaaS fee on request. Such services shall be
           charged in accordance with the Klopotek Price List.




 13.3       Upon termination of this Agreement IUP may require a handover of lUP's data stored in the SaaS
            System. Such handover will be charged in accordance with the Klopotek Price List




 §14            Final provisions



 14.1       This Agreement is the entire agreement between the parties with respect to its subject matter, and
            there are no other representations, understandings or agreements between the Parties relative to
            such subject matter. This Agreement shall enure to the benefit of and be binding upon all of the par
            ties and their respective legal representatives, successors and permitted assigns. This Agreement
            may not be assigned by either party without the prior written consent of the other party. No addi
            tional term or condition included in any IUP purchase order or other document issued by IUP that
            has not previously been agreed to in writing by Klopotek shall bind Klopotek. It is mutually under
            stood and agreed that an independent contractor relationship is hereby established and that em
            ployees of Klopotek are not employees of IUP and that employees of IUP are not employees of the
            Klopotek.




                                                                                                                       v)rt£t



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14.2       Klopotek shall comply with the following University policies found at: http://policies.iu.edu/poli-
           cies/cateqories/administration-operations/index.shtml.    In connection with the performance of work

           under this Agreement, Klopotek agrees not to discriminate against any student, employee or appli
           cant for employment because of age, race, religion, color, handicap, sex, sexual orientation, or na
           tional origin. Klopotek further agrees to take affirmative action to insure equal employment oppor
           tunities. Klopotek, including all employees and agents, shall agree to abide by, and comply with, all
           IUP, federal, state, and local policies, regulations, and laws that pertain to sexual harassment and
           non-discrimination. Klopotek further agrees that employees and agents, while on lUP's premises,
           shall comply with and observe all applicable rules and regulations concerning conduct on the lUP's
            premises, which are imposed upon the lUP's employees and agents




14.3        Klopotek shall have the right, without the consent of IUP, to subcontract the performance of all, or
           any part of, the performance of its obligations under this Agreement. Any subcontracting by
            Klopotek shall be on the condition that Klopotek shall remain fully responsible and liable to IUP for
            any acts or breach of this Agreement by its subcontractors and any such breach shall be deemed to
            be a breach by Klopotek hereunder.




14.4        No amendment to, or change, waiver or discharge of, any provision of this Agreement shall be valid
            unless in writing and signed by authorized representatives of each party.



14.5        If any provision of the Agreement or its application to any party or circumstances shall be invalid or
            unenforceable to any extent, the remainder of the Agreement and the application of its provisions to
            other parties or circumstances shall not be affected and shall be enforced to the extent permitted by
            law.




 14.6       No delay or omission by any party to exercise any right or power it has under this Agreement or to
            object to the failure of any covenant of any other party to be performed in a timely and complete
            manner, shall impair any such right or power or be construed as a waiver of any succeeding breach
            or any other covenant. All waivers must be in writing and signed by the party waiving its rights.



 14.7        The Agreement shall be governed by the laws of the State of Indiana, and Klopotek shall at all
            times comply with and observe all federal, state and local laws, ordinances, and regulations which
            are in effect during the period of the Agreement and which in any manner affect the work or its con
            duct.




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  14.8       With the exception of notice of termination, which must be made by certified mail, any written
                                                                                                              notice
             called for in the Agreement may be given by personal delivery, first class mail, overnight
                                                                                                         delivery
             service or facsimile transmission. Notices given by personal delivery will be effective on
                                                                                                         delivery; by
             overnight service, on the next business day; by first class mail, five business days after
                                                                                                        mailing; and
             by facsimile, when an answer back is received.      Notices shall be sent to:


              Indiana University                                Klopotek




              Tally Thrasher, C.P.M.                            David Hetherington, EVP & COO

              Indiana University Purchasing Department          Klopotek North America, Inc.

              1000 Waterway Blvd, Ste. 101                      2001 Route 46

              Indianapolis, IN 46202                            Parsippany, New Jersey 07054

              tthrashe@iu.edu                                   D.Hetherington@klopotek.com




              Phone:        317.274.7404                        Phone: 908.458.5928

              Fax:          812.855.7839                        Fax: 973.710.9186




 14.9       This Agreement may be executed in any number of counterparts, all of which taken together
                                                                                                      shall
            constitute one single agreement between the parties. This Agreement may be executed
                                                                                                  by facsim
            ile signatures.




14.10       Each of the parties agrees that, subsequent to the execution and delivery of this Agreement
                                                                                                           and
            without any additional consideration, each party shall execute and deliver any further legal
                                                                                                         instru
            ments and perform any acts which are or may become necessary to effectuate the purposes
                                                                                                            of this
            Agreement.




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  Contract Number: SaaS-109260-2016-01-01
                                                                                                    Page 21 of 21




  IN WITNESS WHEREOF the parties have duly executed and delivered this Agreement as of the date first
 written above.




                                                             Kiopotek North America, Inc.




     I c\ Lu^W                              yv\ _                        V\a

                                                                     CO O
   Name, Title ancTSignature                                 Name, Title and Signature




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                  EXHIBIT 2
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APPENDIX 09


PRIC ING SaaS Ag reement

VERSION:               01 – 28 DECEMBER 2011

                       02 – 01 JANUARY 2013

                       02 – XX MONTH 2014 APPLY STANDARD FOR INDIANA
                                        UNIVERSITY PRESS




                                                                       Page 1 of 2
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1       SaaS Fee
In consideration of the SaaS provision of the SaaS System a monthly fee will be paid by Indiana University
Press in accordance with the Agreement and the then-current Klopotek Price List.

The monthly SaaS Fee is as follows:


 Monthly SaaS Fee
                                                                       Amount per        Amount per
    Workstations
                                                                       Workstation           Month
          40           Workstations full use                      $         150.00 $         6,000.00


                       Total Monthly SaaS fee                     $         150.00 $         6,000.00




The payment schedule for the monthly SaaS Fee is as follows:


 Payment Schedule

                                                                                          Amount per
     Installments
                                                                                              Month
          60           SaaS Fee                                                      $       6,000.00



                                                                                                   36
          60           Monthly Installments                                                360,000.00
                                                                                           333636$$$

    1. Payment schedule – Project Fees
          a. 40% on Contract Signature
          b. 30% at Project Mid-Point
          c. 30% at Project Acceptance

    2. Workstation fees commence with the release of the SaaS environment at the Klopotek Service
       Center

    3. Workstation fees are due one month in advance with payment terms of net 30. Payment by wire
       transfer required. Please send wire transfers to the following account:

        JPMorgan Chase Bank, N.A.
        821 United Nations Plaza
        New York, NY 10017

        Routing: # 021000021
        Account Number: # 015-6228777-65
        Swift Code: CHASUS33



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                  EXHIBIT 3
                         Case 2:20-cv-13828-WJM-MF Indiana
                                                    Document 1 Filed 10/02/20 Page 35 of 50 PageID: 35
                                                           University
                                                                                  PURCHASE ORDER                                                                            PO Number: 1903099
                                                                                                                                                                         Contract Manager: Tally Thrasher
 Vendor                                                                                                               Shipping Address
           Klopotek North America, Inc.                                                                                       Harding, Melissa
           ATTN: null                                                                                                         WELLS LIBRARY Room #350
           2001 Route 46                                                                                                      1320 E 10th St
           Suite 203                                                                                                          Bloomington, IN 47405-3907
           Parsippany, NJ 07054                                                                                               812-855-1626


 Shipping Terms                                                                                                       Payment Terms
                                                                                                                              Net 30 Days From Receipt of Invoice
 Delivery Required By
 Order Date                                                        Customer #                                         Billing Address
           11-01-2016                                                                                                         Indiana University
 Delivery Instructions                                             Contract ID                                                IU Accounts Payable
                                                                                                                              400 E 7th Street, Room 021
                                                                                                                              Bloomington, IN 47405-3003
                                                                                                                      Invoice status inquiry: https://fdrs.fms.indiana.edu/cgi-bin/AP/AP/invoice.html
 Vendor Note(s)
           ***Check Enclosed*** initial prepayment of 40% of total project: $60,000.00 to be sent with attached amendments
 Vendor Stipulations and Information
      Item                 Quantity                     UOM                                             Description                                                            Unit Cost                       Extended Cost
       No.

       1                                                           Order to Cash Module total project payment per amendment                                                      150000.0000                           $150,000.00
                                                                  attached



                                                                                                                              Total order amount:                                                                      $150,000.00



1 The delivery of all goods and services must comply with all state and federal laws and Indiana University's policies: http://www.indiana.edu/~purchase/vendor/vendor.php. Further, in the delivery of goods or services
that might involve sensitive data, the supplier shall adhere to the practices outlined here: http://datamgmt.iu.edu/policies.shtml.
2 Pursuant to 2 CFR Part 180, Indiana University shall not knowingly conduct business with person(s) or entities on the federal Excluded Parties List Service: http://www.epls.gov/ ("EPLS"). Acceptance of the
conditions of this purchase order by performance or delivery constitutes certification by the Vendor that Vendor (or any of its principals or sub-contractors) does not appear on this list and has not been debarred,
suspended, proposed for debarment or suspension, or otherwise declared ineligible to participate in or receive federal contracts or subcontracts (collectively, "excluded"). Vendor shall notify Indiana University
immediately if it becomes excluded and/or listed on the EPLS. Indiana University shall be entitled upon such notification to cancel this purchase order and to withhold payment for any goods and services that have not
been provided prior to notification. In the event of a breach of this certification, Indiana University shall be entitled to refuse payment for goods or services and to recover all payments made to Vendor when Vendor was
excluded and/or listed on the EPLS.
3 Address packages exactly as instructed above. Place Purchase Order Number on all package labels.
4 All deliveries are to be made to the address and room number as listed above.
5 Invoices must be sent showing purchase order number to: Indiana University, IU Accounts Payable,
400 E 7th Street, Room 021, Bloomington, IN 47405-3003 or email the invoice to invoice@indiana.edu.
6 Indiana University is free of all Excise and Indiana Sales Taxes.Certificate #00-31232940008 will be furnished upon request.
7 Indiana University policy prohibits discriminatory practices in regard to age, color, disability, gender, gender identity, marital status, national origin, race, religion, sexual orientation, or veteran status.


                           Tim W. Rice
                     Executive Director of Procurement Services




                                                                                                                                                                                           Tally Thrasher          317-274-7404




                                                                                                                                                                                                               Page 1 of 1
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                                                                               klopotek.




       AMENDMENT TO THE                                     PROJECT

       AGREEMENT


       CONTRACT NUMBER PAA-1 09260-201 6




       CONTRACT                      01


       VERSION                       01




        BETWEEN:                     Klopotek North America, Inc.

                                     2001 Route 46
                                     Parsippany, New Jersey 07054


                                     hereinafter referred to as Klopotek




        AND:                         Indiana University
                                     1000 Waterway Blvd , Ste. 101
                                     Indianapolis, Indiana 46202


                                     hereinafter referred to as "IU"




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    Contract Number: PAA-109260-2016-01-01                                                        Page 1 of 3




    IU and Klopotek are parties to a SaaS Agreement No. SAAS-109260-2016-01-01 dated July 12, 2016

    ("SaaS Agreement") and a SaaS Setup Project Agreement No. PA-1 09260-2016-01-01 dated July 12,

    2016 ("Project Agreement"), both as amended by a sideletter dated July 12, 2016.




    In order to implement an "Order to Cash" functionality ("02C") based on Klopotek's standard Order to

    Cash software as an addition to the SaaS System provided to IU under the Project Agreement and

    SaaS Agreement, the parties hereby agree to amend the Project Agreement as follows:



        1.   Q2C Setup Project Services



        1.1. The Setup Project services pursuant to the Project Agreement will be amended by the follow

             ing professional services for the implementation of 02C:

             (1) Project Management

             (2) Basic System Activities including

                      a.    Kick-Off and project introduction

                      b.    Basic system settings

                      c.    Batch Chain set-up

                      d.    Access & User Security group security definition & Set-up

                       e.   Product Pool Training ( books & journals)

                      f.    Batch Monitor Training

                      g.    Training - Report Handling

             (3) Book Sales & Distribution

                       a.   Distribution Product Pool

                       b.   Set & Series Distribution

                       c.   Address Pool Customers

                       d.   Orders & Invoices

                       e.   Standing Orders

                       f.   POD Purchase Orders

                       g.   Warehouse Management

             (4) Journal Sales & Distribution

                       a.   Publication Pool

                       b.   Subscription bundles & supplemental offers

                       c.   Address Pool prospects

                       d.   Address pool customers

                       e.   Address & Customer Maintenance

                       f.   Order Entry - including bundles

                       g.   Document generation - invoices & quotes

                       h.   Tax



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    Contract Number: PAA-109260-2016-01-01                                                          Page 2 of 3




                        i.   Renewal Definition

                        j.   Renewal Generation (notices, quotes, orders)

                        K.   Issue Processing

                        I    Documents - invoices, labels, files, etc.

                        m.   Product Export

              (5) Interfaces Evaluation

              (6) Migration Evaluation



        1.2. The 02C implementation is based on Klopotek's Order to Cash standard product and the at

              tached memorandum / discovery document (Appendix 1). which was prepared by Klopotek

              consultants and subsequently submitted to, reviewed by and confirmed by IU.



        1.3, The 02C Setup Project does not include building of interfaces. All 02C related data migration

              will be accomplished via Excel spreadsheets or keyed in by IU.



        1.4. After acceptance of the overall Setup Project and Go Live, the 02C functionality will be pro

              vided to IU as part of the Licensed Products and the SaaS System pursuant to the SaaS

              Agreement. The 02C operations at IU will require 3-10 users. These users are already includ

              ed in the 40 contracted users under the SaaS Agreement. No additional users are currently

              required.



         1.5, After Go-Live, IU may require a monthly batch chain to support book and journal billing and

              order operations. Such batch chain operation requires an additional fee as an addition to the

              SaaS Fee and is not included in this Amendment.


         2.   Pricing


         2.1. For the 02C Setup Project, IU shall pay an additional Project Fee of $150,000 ("02C Project

              Fee"). The 02C Project Fee shall be due and payable in correspondence with the agreed

              payment schedule:       .

              -   40% upon signature of this Addendum

              -   30% at Project Mid-Point, payable net 30 days after receipt of invoice by Klopotek

              -   30% at Project Acceptance, payable net 30 days after receipt of invoice by Klopotek



              Klopotek reserves the right to modify the 02C Project Fee in the event of a significant vari

              ance in effort from the assumptions outlined in Appendix 1.



         2.2. Travel and accommodation costs and additional expenditure for meals are not included in the

              02C Project Fee and shall be fully reimbursed by IU. Approximately 16-20 days will be re

              quired for on-site work at IU or possible visits of lU's commercial partners. Reasonable out-of-


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    Contract Number: PAA-109260-2016-01-01                                                              Page 3 of 3




             pocket expenses for travel, lodging, and meals will be billed by Klopotek and III shall pay such

             costs and expenses. Expenses are billed at actual costs incurred. Klopotek will undertake

             travelling only after clearance with IU.


    3.   Since the 02C Setup Project is an amendment and extension of the overall Setup Project, the

         terms and conditions of the Project Agreement apply. Except as expressly stated in this Amend

         ment the terms and conditions of the SaaS Agreement and the Project Agreement remain the

         same and in full force and effect.


    Appendices

    Appendix 1 -      IUP 02C notes / discovery




    Indiana University                                         Klopotek North America, Inc.



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  Project: IUP 02C

  Subject: 02C Notes
                                                                                               klopotek.
  Klopotek North America, Inc. | Date: Sept 15, 2016                                           MEMORANDUM




  Following is a summary of Indiana 02C considerations as compiled from Steve Waldron interview notes on
  August 10, 2016 and subsequent conversation between Dave Hulsey, Mike Noth, and David Hetherington on
  9/12/16.

  The information contain in this document will be used as the foundation for Klopotek's order to cash proposal
  to Indiana University Press.


      1.     I met with the current two users of the existing CATS 02C system. There are only three users who
             handle the A/R and order entry today. Order entry is all manual but files are compiled in Excel and
             sent to/received from:

                 a.   Ingram Publishing Services, Sheridan and CAP (Combined Academic Publishers) in the UK.
                      They get files from their website every day which has the online orders which they
                      key into CATS and then they get incorporated in the files for distribution. As noted on
                      line 20, web sales will not apply once Klopotek is operational. Web site sales
                      expected to be handled by IPS by December 1, 2016.

                 b.   The CATS system is still MSDOS and does not support subscriptions so it's currently
                      necessary to treat subscriptions as book orders, there is an ISBN per Journal / Issue and
                      orders are forced to backorder so that issues can be released when required on a quarterly,
                      bi-annual or tri-annual release.

      2.     Labels are created by IPS, CAP, Sheridan, LSI, and DPDM from the Excel file thatthey receive from
             IUP.

      3.     There are approximately 3500 book products that are all available in three versions. Hardback,
             Paperback and eBook. (so 10,500) Audio DVD CD SLICE

      4.     EBooks are only available in MULTIPLE formats which is .epub / epdf/ Mobi.



      5.     There is a process available to sell articles (JSTOR only) and also chapters (slices) for Books only.
             And they are not set up in the system. These are not involved in current subscriptions business.
             (Selling by chapters / articles is something IUP would like to have available for the future).

      6.     There are 60 Journal products (including distributed papers) that are all Issue based with issue
             releases quarterly, bi-annually or tri-annually.


      7.     All journals are available in physical form or digital form. One journal, GLS, is digital only.

       8.    Subscribers can join the journal at anytime, however, they will be processed into the standard
             renewal sequence. IUP will also accept cancellations and stop shipping but do not offer a credit
             on cancellations.

       9.    Products are not bundled today but this would be future requirement.

       10. There are no special business / sales models such as DDA in operation at this time.

       11. Renewals are done out of CATS in physical mail form. No email, though this would be a cost benefit

             for the future.


       1 2. EBSCO is the primary support for the library market



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                                                         SWA.docx/
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  Project: IUP 02C                                                                    MEMORANDUM

  Subject: Notes

  Klopotek North America, Inc. | Date: September 15, 2016




      13. There is one membership related journal (currently, but number may grow) with
           membership pricing tiers and the need to tack members etc.

      14. Credit card processing is supported using PayPal.

      1 5. There are no sales teams or commissions that need to be supported.

      16. Physical inventory reports come from IPS, Sheridan and CAP monthly which are used in CATS to

           forecast product stock requirements when planning fulfillment of the Journals release etc.


      17. All shipping or freight costs are rolled into the product price and not calculated separately. This applies only
          to journals.

      18. Regular product and customer feeds are made to the distributors in file form. Currently use ONYX 2.0 for
           metadata feeds.

      19. Journal issue releases are manually organized and are not on a regular release schedule. They
          are also mainly related to the academic seasons. "Renewals are based on the academic
          season. The release of issues is not based on the academic season.

      20. IUP has just signed an agreement with Aer.io to handle all web sale processing. The sales will be
          included in the daily report from IPS.

      21. The 02C operations at IUP will require 3 -10 seats but these seats are already included in the 40
          contracted seats under the existing SaaS agreement. No incremental seats are required at this time.

      22. No additional interfaces have been identified as of 9/12. The presumption is that orders to distributors
          will continue to be provided by Excel files as is currently done from CATS.

      23. Any additional data migration will be from existing business systems already covered by the current contract.
          That said, these represent additional migrations and neither the cost of these incremental migrations, their scale,
          or the quality of the data has been evaluated as yet. Data to be migrated includes sales records (including
          sales by title and sales by account), unit costs, and subscription management records

      24. Required delivery date is the same as go-live date for the core project.

      25. Indiana collects sales tax for Indiana and Canadian sales.

      26. Additional information must be collected regarding the ecommerce website - the impact of this has not been
          considered in this document and will not be considered in Klopotek's 02C estimate based on the information
            presently available.




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          EXHIBIT 4
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October 3, 2019

Klopotek North America, Inc.
Attn: George Logan, VP of Sales and Marketing
959 Route 46 East, Suite 502
Parsippany, New Jersey 07054

Re: IU Press Klopotek Agreement

Dear Mr. Logan,

        On January 17, 2019, Indiana University’s Executive Director, Purchasing Services, Tally
Thrasher, received an email and attached report from you titled Response to Document IUP-KLOPOTEK
Report (“Klopotek’s Response”). After considering Klopotek’s Response, along with Klopotek’s prior
responses and performance, Indiana University (“IU”) hereby terminates the Klopotek SAAS Agreement
(the “Agreement”) effective November 8, 2019 and demands Klopotek reimburse IU for all fees paid
under the Agreement, including all monthly fees paid by IU as of the date of this letter.

         More than three years ago, the Indiana University Press (“IUP”) entered into the Agreement with
Klopotek to implement Klopotek’s business intelligence system (the “System”) in hopes of replacing
IUP’s outdated systems. While IUP was impressed with the initial promises Klopotek made, Klopotek
repeatedly missed deadlines and provided a System that continues to have extensive functionality issues.
Now, more than two years after the System was scheduled to be up and running, IUP still does not have a
fully functional System as agreed upon, nor a reasonable timeline for when such functionality will be
achieved. In fact, IUP continues to use its outdated title management and business systems as a result of
the deficiencies in the System and Klopotek’s performance.

         In December of 2018, Tally Thrasher emailed you, informing Klopotek that IU: (1) considered
Klopotek in breach of contract, (2) desired to pursue an exit strategy to terminate IU’s Agreement with
Klopotek, and (3) expected a full refund of more than $600,000 paid for implementation of the System, in
addition to all monthly fees paid by IU. On December 19, 2018, you replied to Ms. Thrasher explaining
that Klopotek did not believe such a refund was merited. The parties have exchanged additional
correspondence since, but IU’s position remains the same—Klopotek failed to deliver IU a System that
conforms to the standards and functionality represented in the Agreement and discussions with IU, which,
for the reasons discussed below, constitutes breach of contract and misrepresentation for which IU
demands complete reimbursement.
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I.        Klopotek’s Breach of Contract

        IU and Klopotek entered into the Agreement on July 12, 2016. In Section 10.1.1 of the
Agreement, Klopotek warrants that “it has the ability to perform the services and deliver product required
by this Agreement; [and] that it will perform said services and deliver said product in a professional,
competent, and timely manner.” After the Agreement was signed, the parties began the onboarding stage,
which included data migration, training, and testing of the System. At this time, the parties agreed that the
System would go live on July 1, 2017.

         Klopotek asserts that the System did go live in July 2017, as evidenced by a Milestone
Acceptance Certificate signed by the parties.1 In that Certificate, IU accepted the milestones, but the
parties agreed that fifteen faults remained in the System’s functionality. Aside from two of these
limitations, Klopotek agreed to resolve each of these issues by August 11, 2017. Not only did Klopotek
fail to meet many of these new deadlines, but as of January 31, 2018, forty-two tickets for faults in the
System remained open.2 Considering these deficiencies remained at least a year and a half after the
Agreement was signed, Klopotek did not truly deliver the System as warranted. Regardless of whether the
System “went live” at some level by the July 2017 timeline, Klopotek clearly failed to meet its warranty
regarding the timely provision of a functional System.

         Klopotek’s Response frequently relies on the fact that some faults were never reported by IU via
the issue-tracking tool, explaining, “We can’t respond to issues that are never reported in Elementool.”3
Although IU may not have submitted every fault into the tracking system, at least sixty-nine tickets for
faults were submitted to Klopotek4, forty-two of which remained unresolved as of January 31, 2018. This
delay is a breach of Klopotek’s Support and Maintenance duties provided in Section 7.2.4 of the
Agreement, which states, “Klopotek shall use commercially reasonable endeavors to respond to a Fault
and to correct Faults as soon as reasonably practicable.”

        Eventually, Klopotek set a new deadline to address the remaining faults at the January 2018
Steering Committee Meeting, asserting that “Based on current identified project activities, all tasks will


1 Section 4 of the SAAS Setup Project Agreement references a Milestone Acceptance Certificate, but Section 4 does not
explain the effect such Certificate may have on the Agreement, specifically the parties’ respective obligations thereunder.
The Agreement itself does not mention Milestone Acceptance Certificates. As such, IU refutes Klopotek’s suggestions
that the product was delivered in a professional and timely manner (as warranted in Section 10.1.1 of the Agreement),
especially considering numerous deficiencies with the System’s functionality remain unresolved to this day.
2 This number was derived from slide #6 of the power point presentation Klopotek provided at the Steering Committee

Meeting on January 31, 2018.
3 Klopotek’s complaints regarding IU’s reporting of issues is troublesome for multiple reasons: (1) IU was contractually

obligated to report all faults via Webtrace per Section 7.1.3 of the Agreement, (2) at the Steering Committee Meeting on
January 31, 2018, Klopotek provided in the meeting notes on slide #2 of the power point presentation that “IUP will no
longer enter WT tickets. All issues will be logged in Elementool.” and (3) to IU’s knowledge, IU never signed off on
such change in fault reporting, which is required per Section 14.1 of the Agreement in order for such responsibility to
fall within the Agreement.
4 The fact that not all faults were reported, coupled with the existence of sixty-nine reported faults, further demonstrates

the vast array of nonconformities IU has experienced with the product Klopotek delivered.
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be complete by March 15.”5 Klopotek’s corresponding meeting notes echoed this assertion, providing
that “KNA has an [sic] realistic action plan to complete all known open tasks already logged in Element
Tool by March 15.”6 Nonetheless, the March 15, 2018 deadline came and went, and Klopotek was forced
to set a new deadline of October 31, 2018, which, at the time, appeared next to the majority of the open
tasks to be completed that were listed in the Elementool report. However, as the new October 2018
deadline approached, IUP learned that Klopotek needed to pushback its own deadline again, this time, to
the end of the 2018 calendar year.

         As of today, Klopotek has yet to provide IUP with communications regarding when the System
and its remaining faults will be corrected, nor has Klopotek assigned additional staff or resources to
address such remaining issues. This is true even after Indiana University’s Executive Director, Purchasing
Services, Tally Thrasher, formally informed Klopotek of IUP’s concerns on two occasions. Klopotek’s
repeated failure to meet its own, pushed back deadlines evidences its breach of Section 7.2.4 to use
commercially reasonable endeavors to respond to and correct faults as soon as reasonably practicable.

          In addition to Klopotek’s failure to correct reported faults in the System’s functionality in a
timely and commercially reasonable manner, Klopotek breached its warranty to provide a System that
operates “in accordance with the Product Documentation” as required by Section 10.1.2 of the
Agreement. Klopotek’s Product Documentation and functionality charts provide descriptions of the
System’s functional components, many of which do not perform at all or in accordance with such
descriptions even though Appendix 1 (Setup Implementation Scope) evidences they were in scope. In
fact, out of the eighteen functional components that were agreed to be in scope, most of those components
currently remain non-functioning or wholly impractical to use.

         For instance, the Catalog and Flyer Creation (Module B2 – PAM Ref C3) functionality described
in the Title Management and Product Marketing BPS Functionality Chart states that “the marketing
material fed from the various entries of the product is published either to a website or to a printing
supplier. Created flyers can be sent via e-mail.” Although this functionality was promised during the
original demonstration and setup process leading up to the parties’ execution of the Agreement, Klopotek
later admitted to IUP that their System does not generate the flyers, and that this functionality can only be
provided by a third party. Further, one of the most substantial functionality issues relates to the System’s
inability to track actual book costs and expenses, especially when a book has multiple editions. The
warranted Calculation feature (Module C3 – PAM Ref G2, G3, and G4) described throughout the
Editorial BPS Functionality Chart remains unusable after over a year of promises and delays.7 In fact, IUP
continues to rely on its outdated title management system for its profit and loss calculations. Such profit
and loss functionality is a fundamental component of a business intelligence system for a publishing
organization, and the fact that the System does not provide this key functionality as warranted is
unacceptable. Ultimately, had IUP known that Klopotek’s System would not provide this functionality,
IUP would not have selected Klopotek or executed the Agreement.


5 This assertion was copied from power point slide #3 of Klopotek’s presentation at the January 31, 2018 Steering
Committee Meeting.
6 Quote was taken from Klopotek’s meeting notes accompanying power point slide #3.
7 As of today, the preliminary cost estimator does not calculate correctly, and the relevant data is not available to

calculate gross profit or to do analysis.
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         The System’s original Rights Management component (Module D – PAM Ref I4, I6, K2, K3, K4
within the Contract Rights and Royalties PPM) also suffers from significant functionality and usability
issues. Klopotek eventually advised IUP not to use Klopotek’s PPM module, instead suggesting that IUP
utilize Klopotek’s new, web-based Rights Sales Manager STREAM (“RSM”), which Klopotek insisted
was the preferred replacement for other publishers. To this day, the System’s RSM component contains
fundamental flaws even with the most basic functionality including, the user’s ability to filter and sort
search results, to utilize the Contract/Title Libraries, and to use the “create a new rights interest” feature.
IUP expressed its concerns towards the System’s deficient RSM component on multiple occasions, yet
Klopotek continuously failed to provide the necessary interfacing between the original PPM module and
the new RSM. Klopotek’s Response acknowledges its own failings, noting that “Klopotek is actively
working on the PPM to RSM product interface…[and]…Klopotek agrees that the product interface is
taking far longer than anticipated.” As of today, Klopotek has provided no evidence or explanation as to
when these issues will be resolved.

         Unfortunately, there are many other non-functional and impractical components present within
the current System. Regardless, the issues and delays described above evidence Klopotek’s breach of its
warranties described in Sections 10.1.1 and 10.1.2 regarding the provision of a functional system in a
timely manner. Further, the fact that a significant number of these issues remain unresolved three years
after the parties entered into the Agreement (even though IUP reported at least sixty-nine total faults to
Klopotek over this time) demonstrates Klopotek’s failure to meet its duties under Section 7.2.4,
specifically, “to correct Faults as soon as reasonably practicable.”

II.     Klopotek’s Misrepresentation

        Before entering into the Agreement with Klopotek, IUP was using two outdated systems—a title
management system and a business system. As IUP’s product portfolio continued to grow and diversify, it
became clear to IUP that its outdated systems could not provide IUP with the detailed monitoring and
assessment of sales performance and forecasting, nor manage the coordination of product workflows
among all departments of IUP, including acquisitions, operations, marketing, and business. As a result, it
became critical to upgrade IUP’s title management system and business system to a single, integrated
system capable of superior tracking and analytical capabilities, which IUP explained in its subsequent
RFP. Upon learning of IUP’s RFP, Klopotek submitted a proposal in February 2016 making a number of
representations and assertions regarding its System’s capabilities.

         Unfortunately, throughout IUP’s relationship with Klopotek, including Klopotek’s initial
proposal, sales presentation and demonstration, System setup, and numerous meetings and conversations
between the parties; Klopotek misrepresented that it could provide a single robust business intelligence
system capable of addressing IUP’s business needs. Klopotek had numerous opportunities, throughout the
onboarding and setup stages, to disclose any foreseeable issues or delays relating to IUP’s transition to the
new System. Rather than discussing potential delays in IU’s ability to utilize the System or shortcomings
in the System itself, Klopotek continued to promise and represent to IUP that Klopotek would deliver a
fully functional system within a reasonable time and that the System would conform to best publishing
practices necessary for fulfilling IUP’s needs. IUP relied on Klopotek’s representations, and to IUP’s
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detriment, committed a substantial amount of financial and staff resources to Klopotek’s System. Due to
the deficient System Klopotek delivered, IUP has been forced to return its earlier, outdated systems, all
while still paying for the System.

         In addition to misrepresenting the System’s functionality and capabilities, Klopotek omitted
material information about the System’s limitations. For instance, during the initial presentation and
throughout contractual negotiations, Klopotek failed to mention or explain that the System’s modules
(business partners, contracts, production and editorial, etc.) did not integrate efficiently or share data
across themselves. Although Klopotek’s representations and demonstration suggested the modules would
easily interact with one another, IUP’s employees have been forced to dedicate a substantial amount of
time to duplicate data entry into each module.

         Klopotek also failed to disclose its overarching plan to move away from the Klopotek Classic
Line (TMPM) platform—the System that Klopotek promoted and promised was capable of satisfying
IUP’s business needs. IUP invested hundreds of thousands of dollars into the System on the expectations
that Klopotek would continue to fully support such platform for years to come. Instead, Klopotek has
reduced its technical support of the System, including the number of software patches, which help
maintain the System’s functionality. In fact, during the presentations at the annual Klopotek Users Group
meeting in October of 2018, Klopotek made clear that it would be implementing the new “STREAM”
platform and encouraged IUP to upgrade. While IUP was led to believe throughout the onboarding stage
in 2017 that Klopotek would continue to support the System, in reality, Klopotek was not transparent
about the lifecycle of its product pool and sold IUP a soon-to-be unsupported platform. This
misrepresentation put IUP in the unwanted position of determining whether to stay with Klopotek’s
classic platform that IUP already invested significant resources towards or moving to the new STREAM
platform that Klopotek plans to support for years to come.

         Ultimately, Klopotek misrepresented that it could provide IUP with a fully functional System
within a reasonable amount of time. Today, more than three years after the parties discussed and
negotiated Klopotek’s provision of the System, substantial flaws in the System’s functionality remain.
Klopotek made false promises about the System’s functionality, knowing that some of its promises were
false. This is evidenced, for example, by the fact that Klopotek failed to disclose it was moving to the
“STREAM” modules and platform as it sold and implemented its expiring, classic platform to IUP. IUP
relied on Klopotek’s original promises and representations, and committed a substantial amount of IUP’s
staff and financial resources to the now, inadequate System.

III. Conclusion

          IUP paid Klopotek to provide a functional System meeting the specifications set forth in the
Agreement by July 2017, and Klopotek failed to deliver such a System. Please understand that IU is a
public institution. In fact, IU is an instrumentality of the State of Indiana, funded with state appropriations
(i.e., taxpayer dollars). If Klopotek denies IU’s request for reimbursement and IU files suit in Federal
Court, we will seek a jury trial and pursue damages for Klopotek’s misrepresentation in addition to all
fees paid. We believe our claim would exceed $1,000,000. Given the circumstances, IU believes that
jurors in Indiana would agree Klopotek should be held responsible for its misrepresentation and breach.
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        In conclusion, IU demands Klopotek reimburse IU the sum of $759,989.89 for Klopotek’s breach
of contract and misrepresentation in regards to the Klopotek System. In addition, IU demands that the
name and logo of Indiana University and the IU Press be immediately removed from all Klopotek
websites, customer and reference lists, and promotional or advertising materials. Representatives from
IU’s General Counsel office are willing to have a conference call or in-person meeting with Klopotek in
Bloomington, Indiana, within the next thirty days in an attempt to avoid litigation. Please contact IU’s
Assistant General Counsel, Brandon Bekkering, to discuss IU’s demand and a resolution.


Sincerely,




Brandon Bekkering
Assistant General Counsel


Cc:     Gary Dunham, Director, IU Press and Digital Publishing
        Tally Thrasher, Executive Director, Purchasing Services
        Mike Noth, Director of Business Affairs, Wells Library
        Jeff Goetz, Associate General Counsel, Office of the VP & General Counsel
        George Logan, VP of Sales and Marketing, Klopotek North America
        Ernst Lopes Cardozo, Chief Sales Officer, Klopotek
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          EXHIBIT 5
                           Case
O This message was sent with    2:20-cv-13828-WJM-MF
                             High importance.        Document 1 Filed 10/02/20 Page 50 of 50 PageID: 50

From:        Hetherington, David <D.Hetheririgton@klopotek.com>                                      Sent:   Thu 6/16/2016 12:32 PM

To:          Thrasher, Tally; Noth, Michael S
Cc:          Carsten Gerlach
Subject:     Indiana - Klopotek Contract

 _l Message l3]SAAS_PA_IUP_20160616.docx (179 KB) ®]SAAS_IUP_201 60616.docx (185 KB)


  As promised in yesterday's email - attach is our first cut at the contract. There are two core documents attached with
  related appendices to follow on by COB on Tuesday, 6/21. Please review and if you have any immediate questions
  perhaps we can schedule a call on Wednesday or Thursday of next week.


  If anything of immediate concern comes up please don't hesitate to contact me.


  We are targeting to have everything completed so that we can launch the project on or about 8/1/2016.


  The fast track approach - targeting signature by 6/30 is not necessary from our perspective.


  Many thanks,




  David M. Hetherington
  EVP & COO
  Klopotek North America
  2001 Route 46 East

  Parsippany, NJ 07054

  (908) 458-5928 (m)
  (862) 261-9402(0)
  (973) 710-9186 (f)
  d.hetherinetonOklopotek.com
  www.kloootek.com
